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 1
                                                                        The Honorable James L. Robart
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 8                                    UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF WASHINGTON
 9                                             AT SEATTLE
10   UNITED STATES OF AMERICA,
11                      Plaintiff,                        NO. 04-00549 JLR
12                      v.
                                                          ORDER CONTINUING TRIAL DATE
13
     MAJOR SINGH DHANOA,
14
                        Defendant.
15

16            THIS COURT, having considered the written joint motion of the United States and

17   defendant Major Singh Dhanoa to continue the trial date, and in view of the fugitive status of

18   co-defendant Rashpal Singh Sandhu; therefore, adopts the reasons stated in the joint motion

19   and FINDS:

20            1.        Defendant Dhanoa, who remains out of custody, on bond, waives his speedy

21   trial rights and joins in the motion to continue the trial date;

22            2.        This Court authorized foreign depositions to be conducted of voluntary defense

23   witnesses in Toronto, Canada, and the government needs additional time to obtain the

24   approval of Canadian officials to conduct the depositions;

25            3.        As previously noted by this Court, this prosecution involves a lengthy

26   investigation and voluminous discovery;



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 1            4.        A continuance of the trial date would allow the parties adequate time to
 2   conduct and complete the foreign depositions and prepare for trial;
 3            5.        The continuance is necessary to ensure effective representation and continuity
 4   of counsel;
 5            6.        The failure to grant a continuance of the trial date likely would result in a
 6   miscarriage of justice and the denial of Mr. Dhanoa’s right to compulsory process of
 7   witnesses; and
 8            7.        The interests of the public and the defendant in a speedy trial in this case are
 9   outweighed by the ends of justice.
10            Accordingly, IT IS NOW, THEREFORE, ORDERED:
11            The Court grants the request by defendant Major Singh Dhanoa and the United States
12   to continue the trial date.
13            The trial in this matter is continued to June 20, 2006 and the time between the
14   previously set trial date and the new trial date is excluded pursuant to the provisions of Title
15   18, United States Code, Sections 3161(h)(8)(A) and 3161(h)(9) as to the defendant.
16            DATED this 10th day of April, 2006.
17
                                                            S/ James L. Robart
18                                                    __________________________________
                                                      THE HONORABLE JAMES L. ROBART
19                                                    UNITED STATES DISTRICT COURT JUDGE
20   Presented by:
21   s/ Peter Offenbecher
     WSBA No. 11920
22   SKELLENGER BENDER, P.S.
     1301 – 5th Avenue, #3401
23   Seattle, WA 98101-2605
     Telephone: 206-623-6501
24   Fax: 206-447-1973
     E-mail: poffenbecher@skellengerbender.com
25   Attorneys for Major Singh Dhanoa
26


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 1                                     CERTIFICATE OF SERVICE
 2
              I HEREBY CERTIFY THAT ON April 4, 2006, I electronically filed a Proposed
 3
     Order Continuing Trial using the CM/ECF system with the Clerk of the Court and e-mailed a
 4
     copy in Word format to RobartOrders@wawd.uscourts.gov.             According to the CM/ECF
 5
     system the following persons are listed as receiving notification of such filing via the
 6
     CM/ECF electronic notification system:
 7

 8                 •    Peter Offenbecher at poffenbecher@skellengerbender.com

 9                 •    Jill Otake at jill.otake@usdoj.gov
10
                   •    Ye-Ting Woo at Ye-Ting.Woo@usdoj.gov
11
              DATED this 4th day of April, 2006.
12

13                                                       s/Deborah J. Ellenwood
                                                         Deborah J. Ellenwood
14                                                       Paralegal
                                                         Skellenger Bender, P.S.
15                                                       1301 Fifth Avenue, Suite 3401
                                                         Seattle, WA 98101
16                                                       (206) 623-6501
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